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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE MUSHROOM DIRECT                                        Master File NO. 06-0620
 PURCHASER ANTITRUST
 LITIGATION
                                                                           FILED
THIS DOCUMENT RELATES TO:
All Actions

                                              ORDER

        AND NOW, this 26th day of May, 2015, upon consideration of certain defendants'

motion to adjudicate plaintiffs' antitrust claims under the rule ofreason (Dkt. No. 492), 1

plaintiffs' opposition to the motion seeking application of the rule of reason and plaintiffs' cross-

motion for partial summary judgment on their Sherman Act § 1 claim (Dkt. No. 495), and the

responses and replies to each motion (Dkt. Nos. 496, 498, 501-08, 511, 624, 630), following oral

argument on the motions and consistent with the accompanying memorandum of law, it is

ORDERED that:

       1.      Defendants' motion to adjudicate plaintiffs' antitrust claims under the rule of

               reason (Dkt. No. 492) is GRANTED IN PART AND DENIED IN PART as

               follows:

               a.     the motion is GRANTED to the extent that it seeks application of the rule

                      ofreason to plaintiffs' claim that defendants violated Section 1 of the

                       Sherman Act by "conspir[ing] among themselves and in conjunction with


               Moving defendants are: the Eastern Mushroom Market Cooperative (EMMC),
Robert A. Feranto, Jr. t/a Bella Mushroom Farms; Brownstone Mushroom Farms, Inc.;
Brownstone Farms, Inc.; Brownstone Mushroom Farm; To-Jo Fresh Mushrooms, Inc.; Country
Fresh Mushroom Co.; Gino Gaspari & Sons, Inc.; Kaolin Mushroom Farms, Inc.; South Mill
Mushroom Farms, Inc.; Southmill Mushroom Sales, Inc.; Modern Mushroom Farms, Inc.; C&C
Carriage Mushroom Co.; Sher-Rockee Mushroom Farm, LLC; Oakshire Mushroom Farm, Inc.;
Phillips Mushroom Farms, Inc.; Louis M. Marson, Jr., Inc.; Monterey Mushrooms, Inc.; and
John Pia (Dkt. No. 513).
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                       nonmember distributors to set artificially-inflated prices" for mushrooms.

                       Dkt. No. 185   at~   93;

               b.      the motion is DENIED to the extent that it seeks application of the rule of

                       reason to plaintiffs' claim that defendants violated Section 1 of the

                       Sherman Act through the EMMC's implementation of a supply control

                       scheme - purchasing and leasing mushroom farms in order to place deed

                       restrictions on the properties prohibiting the conduct of business related to

                       the production of mushrooms. Dkt. No. 185       at~   94. The Court will apply

                       per se liability to plaintiffs' Section 1 supply control claims.

       2.      Plaintiffs cross motion for partial summary judgment (Dkt. No. 495) is DENIED.

       It is FURTHER ORDERED that, because this Order and the accompanying

memorandum of law may contain confidential information, it has been filed under seal pending

review by the parties to permit them to meet and confer and propose a single jointly redacted

version of the Order and the accompanying memorandum of law. The parties shall submit their

proposed redacted Order and accompanying memorandum oflaw, if any, on or before June 8,

2015. Thereafter, the Court will issue a publicly-available version of this Order and the

accompanying memorandum of law.




                                                                                 ENTERED
                                                                                  MAY 2 6 2015
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